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 1                                   UNITED STATES DISTRICT COURT
 2                                NORTHERN DISTRICT OF CALIFORNIA
 3   RONALD RAYNALDO, et al.,                        )              4:21-cv-05808-HSG
                                                     )   Case No:
 4                                                   )
                                     Plaintiff(s),       APPLICATION FOR
                                                     )
             V.                                      )   ADMISSION OF ATTORNEY
                                                     )   PROHACVICE ; ORDER
 6   AMERICAN HONDA MOTOR CO.,                       )   (OVIL LOCAL RULE 11-3)
     INC.,                                           )
 7                                                   )
                        Defendant(s).
 8
         I, J. Barton Goplerud                     an active member in good standing of the bar of
 9    Iowa                           hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Plain tiffs                                  in the
     above-entitled action. My local co-counsel in this case is La urence D . King                      an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                               LOCAL CO-COUNSEL'S ADDRESS OF RECORD:
13     SHINDLER, ANDERSON, GOPLERUD & WEESE, PC             KAPLAN FOX & KILSHEIMER LLP
       5015 Grand Ridge Drive, Suite 100                    1999 Harrison Street, Suite 1560
14     West Des Moines, IA 50265                            Oak.land, CA 94612
       MY TELEPHONE# OF RECORD:                            LOCAL CO-COUNSEL'S TELEPHONE# OF RECORD:
15     515-223-4567                                         415-772-4700
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL'S EMAIL ADDRESS OF RECORD:
16      goplerud@sagwlaw.com                                lking@kaplanfox.com

         I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: AT0002983
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19       I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: l0/0?/2l                                                 J. Barton Goplerud
22                                                                              APPLICANT
23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PROHACVICE
25       IT IS HEREBY ORDERED THAT the application of J. Barton Goplerud                        is granted,
     subject to the terms and conditions of Civil L.R 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.          ES D
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     Dated: 6/24/2022
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                                                            UNITED STATES DISTRICT JUDGE                  S. Gillia
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     PRO HAC VICE APPLICATION & ORDER
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                                                                                                                                       October 2012
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